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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                      Case No. 1:16-cv-1534-JEB
               Plaintiff,                             (and Consolidated Case Nos. 16-cv-1796
                                                      and 17-cv-267)
and

CHEYENNE RIVER SIOUX TRIBE,

               Plaintiff-Intervenor,

       v.

U.S. ARMY CORPS OF ENGINEERS,

               Defendant-Cross Defendant,

and

DAKOTA ACCESS, LLC,

               Defendant-Intervenor-Cross
               Claimant.



                   UNOPPOSED MOTION FOR EXTENSION OF TIME;
                          EXTENSION OF PAGE LIMITS


       Plaintiffs Standing Rock Sioux Tribe, et al., respectfully move for an extension of time

for the filing of their reply brief on their Motion for Clarification and Permanent Injunction, to

January 8, 2021. The extension request is occasioned by changes in counsel’s workload over the

next six weeks, which include multiple dispositive motions, an appeal, and multiple depositions

and pre-trial motions in other cases. No party opposes this request.




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       Additionally, the Tribes seek leave to file a reply brief of up to 25 pages, as the Tribes are

responding to 50 pages of primary briefing, as well as numerous exhibits and amici filings. The

Tribes cannot fairly respond to this briefing in the 15 pages currently provided by this Court’s

previous order. No party takes a position on this request.

Dated: December 4, 2020                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2020, I electronically filed the foregoing

UNOPPOSED MOTION FOR EXTENSION OF TIME; EXTENSION OF PAGE LIMITS with

the Clerk of the Court using the CM/ECF system, which will send notification of this filing to the

attorneys of record and all registered participants.



                                               /s/ Jan E. Hasselman
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